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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GN PRO GROUP, LLC, et al.,                        )
                                                  )
               Plaintiffs,                        )
                                                  )           No. 23-cv-16711
       v.                                         )
                                                  )           Judge Andrea R. Wood
WELL DONE ASAP, LLC, et al.,                      )
                                                  )
               Defendants.                        )

                             MEMORANDUM OPINION AND ORDER

       Plaintiff Galina Nedialkova is the sole member and manager of Plaintiff GN Pro Group,

LLC (“GN Pro”), a company that acquires and invests in real estate. In the course of closing a

real estate transaction, Plaintiffs received an email purportedly from their law firm instructing

them to wire the closing funds to a specific account number. Unbeknownst to Plaintiffs, the

email was sent by an imposter, and Plaintiffs proceeded to wire approximately $150,000 to the

imposter’s account. After discovering that they had been defrauded, Plaintiffs brought this

lawsuit against the holder of the account that received their funds, Defendant Well Done ASAP,

LLC, as well as the bank that completed the transaction, Defendant JPMorgan Chase Bank, N.A.

(“Chase”). Now, Chase moves to dismiss the claims against it pursuant to Federal Rule of Civil

Procedure 12(b)(6). (Dkt. No. 16.) For the reasons that follow, Chase’s motion is granted.

                                        BACKGROUND

       For the purposes of the motion to dismiss, the Court accepts as true all well-pleaded facts

in the Amended Complaint and views those facts in the light most favorable to Plaintiffs as the
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non-moving parties. Killingsworth v. HSBC Bank Nev., N.A., 507 F.3d 614, 618 (7th Cir. 2007).

The Amended Complaint alleges as follows.

       Galina Nedialkova, a real estate investor, is the sole member and manager of GN Pro, as

well as a co-member and manager of Viga Chicago LLC (“Viga”). (Am. Compl. ¶¶ 1, 9–10, Dkt.

No. 12.) Both GN Pro and Viga are in the business of investing and acquiring real estate. (Id.

¶¶ 9–10.) In April 2019, Viga contracted to purchase a condominium unit in Mount Prospect,

Illinois, for $149,850.29 in cash. (Id. ¶ 11.) In connection with the closing, Nedialkova retained

the real estate law firm Migdal & Associates, Ltd. (“Firm”). (Id. ¶ 12.)

       On April 17, 2019, a paralegal from the Firm emailed Nedialkova wire instructions for

closing Viga’s real estate purchase via the Firm’s email address, skokielawoffice@gmail.com.

(Id. ¶¶ 12–13.) The email directed Nedialkova to wire the funds to “Independent Escrow

Services” at an account number ending in 0024. (Id. ¶ 13.) Then, on the scheduled day of the

closing, April 19, 2019, Nedialkova received what appeared to be an email from the Firm. (Id.

¶¶ 13–14.) The email came from skokielawooffice@gmail.com, an address close to the Firm’s

true address but containing an extra “o” before “office.” (Id. ¶ 14.) That fake email purported to

provide Nedialkova with corrected wire instructions—specifically, the email directed Nedialkova

to transfer the funds to the same recipient as before but provided a new account number ending

in 1895. (Id.)

       Believing the fraudulent email to be authentic, Nedialkova met with a banker at Chase’s

Mount Prospect branch and instructed the banker to wire $149,850.29 from GN Pro’s Chase

account to the 1895 account, with Independent Escrow Services listed as the recipient. (Id. ¶ 16.)

Two days later, after the escrow company reported that it had not received the transfer,

Nedialkova learned that her wire transfer had gone to an account associated with Well Done




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ASAP, LLC, an entity with which Plaintiffs had no prior association. (Id. ¶ 17.) By the time

Nedialkova realized her mistake, about $100,000 had already been withdrawn from the 1895

account. (Id. ¶ 18.) The remaining $49,850.29 is still in the 1895 account, although Chase has

frozen that sum pending a court order for its release. (Id. ¶¶ 19–20.)

        In Plaintiffs’ Amended Complaint, they assert fraud claims against Well Done ASAP,

LLC, as well as unidentified John Doe Defendants who perpetrated the fraud. To date, Well

Done ASAP, LLC has not appeared in this action, and the John Does remain unidentified.

However, Chase is also named as a Defendant and has appeared. Counts III and IV of the

Amended Complaint assert claims against Chase pursuant to the Uniform Commercial Code

(“UCC”), as adopted in Illinois, due to Chase’s purported failure to detect and protect Plaintiffs

against the fraud.

                                            DISCUSSION

        To survive a Rule 12(b)(6) motion, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This

pleading standard does not necessarily require a complaint to contain detailed factual

allegations. Twombly, 550 U.S. at 555. Rather, “[a] claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Adams v. City of Indianapolis, 742 F.3d 720, 728

(7th Cir. 2014) (quoting Iqbal, 556 U.S. at 678). With its motion, Chase denies that the UCC

makes it liable for following Plaintiffs’ express wire transfer instructions and therefore moves to

dismiss both claims against it.




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       I.      UCC Section 4A-207

       Count III of the Amended Complaint alleges that UCC section 4A-207 makes Chase

responsible for failing to detect that the 1895 account was not held in the name of Plaintiffs’

listed recipient, and therefore Chase must reimburse Plaintiffs for the full amount of the wire

transfer. As codified in Illinois, UCC section 4A-207 provides, in relevant part:

       (b) If a payment order received by the beneficiary’s bank identifies the beneficiary
       both by name and by an identifying or bank account number and the name and
       number identify different persons, the following rules apply:

       (1) Except as provided in subsection (c), if the beneficiary’s bank does not know
       that the name and number refer to different persons, it may rely on the number as
       the proper identification of the beneficiary of the order. The beneficiary’s bank need
       not determine whether the name and number refer to the same person.

       (2) If the beneficiary’s bank pays the person identified by name or knows that the
       name and number identify different persons, no person has rights as beneficiary
       except the person paid by the beneficiary’s bank if that person was entitled to
       receive payment from the originator of the funds transfer. If no person has rights as
       beneficiary, acceptance of the order cannot occur.

       (c) If (i) a payment order described in subsection (b) is accepted, (ii) the originator’s
       payment order described the beneficiary inconsistently by name and number, and
       (iii) the beneficiary’s bank pays the person identified by number as permitted by
       subsection (b)(1), the following rules apply:

       (1) If the originator is a bank, the originator is obligated to pay its order.

       (2) If the originator is not a bank and proves that the person identified by number
       was not entitled to receive payment from the originator, the originator is not obliged
       to pay its order unless the originator’s bank proves that the originator, before
       acceptance of the originator’s order, had notice that payment of a payment order
       issued by the originator might be made by the beneficiary’s bank on the basis of an
       identifying or bank account number event [sic] if it identifies a person different
       from the named beneficiary. Proof of notice may be made by any admissible
       evidence. The originator’s bank satisfies the burden of proof if it proves that the
       originator, before the payment order was accepted, signed a record stating the
       information to which the notice relates.

810 ILCS 5/4A-207. Plaintiffs are indisputably not banks, and therefore they argue that

subsection 4A-207(c)(2) relieves them of any obligation to pay the wire transfer given the



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inconsistency between the transfer’s listed recipient, Independent Escrow Services, and the name

of the 1895 account’s holder, Well Done ASAP, LLC.

        According to Chase, it is not liable to reimburse Plaintiffs pursuant to subsection 4A-

207(c)(2) because it gave them adequate notice that the beneficiary bank would fulfill a wire

transfer even if the account number identified someone other than the named beneficiary. As

proof of notice, Chase points to the Wire Transfer Outgoing Request form that Nedialkova

completed before making the transfer. Plaintiffs attach the first page of that form as an exhibit to

the Amended Complaint (Am. Compl., Ex. F, Dkt. No. 12-1), and Chase introduces the complete

form in connection with its motion to dismiss. See Fed. R. Civ. P. 10(c) (“A copy of a written

instrument that is an exhibit to a pleading is part of the pleading for all purposes.”); see also

Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687, 690 (7th Cir. 2012) (“[T]he

incorporation-by-reference doctrine provides that if a plaintiff mentions a document in his

complaint, the defendant may then submit the document to the court without converting

defendant’s 12(b)(6) motion to a motion for summary judgment.”). That form contains the terms

and provisions of the wire transfer agreement, one of which provides:

        Identifying Number.
        We or any other bank involved in the wire transfer will complete your wire transfer
        request using the account number or bank identification number you provide, even
        if the numbers do not match the recipient’s or bank’s name. If you provided us an
        incorrect account number for the recipient or an incorrect routing or
        identification number for the recipient’s bank, you could lose the amount of the
        transfer.

(Chase’s Mem. in Supp. of Mot. to Dismiss, Ex. 1, Wire Transfer Agreement § 4, Dkt. No. 17-

1.)

        The Court agrees that Chase’s notice suffices for purposes of subsection 4A-207(c)(2).

While few cases interpret that particular UCC subsection, the courts that have considered the




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provision generally understand “section 4A-207(c) as requiring notice that the beneficiary’s

bank might pay based on the account number alone.” Elkin Valley Baptist Church v. PNC Bank,

N.A., No. 23-1798, 2024 WL 4150083, at *32 (W.D. Pa. Sept. 10, 2024). Here, such notice was

provided given that Chase’s notice speaks of both itself “or any other bank involved in the wire

transfer” completing the transfer. Having given Plaintiffs notice that their wire transfer would be

completed by the beneficiary’s bank, notwithstanding any mismatch between the named

beneficiary and the name on the recipient 1895 account, Chase was not liable to Plaintiffs for the

mistakenly transferred funds under subsection 4A-207(c)(2).

       Alternatively, Plaintiffs assert that because the 1895 account was also a Chase bank

account, Chase is liable under subsection 4A-207(b) as the beneficiary bank. But a beneficiary

bank is only liable under subsection 4A-207(b)(2) “if it has actual knowledge of the mismatch.”

Sunset Cmty. Health Ctr., Inc. v. Cap. One Fin. Corp., 652 F. Supp. 3d 1020, 1027 (D. Minn.

2023). And actual knowledge is not established simply from the fact of the mismatch. See

Langston & Langston, PLLC v. SunTrust Bank, 480 F. Supp. 3d 737, 744 (S.D. Miss. 2020)

(“Data stored in a computer system does not constitute actual knowledge, even if inspection of

the data would have revealed a misdescription.”). As the UCC commentary makes clear,

“[s]ubsection (b) allows banks to utilize automated processing by allowing banks to act on the

basis of the number without regard to the name if the bank does not know that the name and

number refer to different persons.” 810 ILCS 5/4A-207 cmt. 2. For that reason, the beneficiary’s

bank “has no duty to determine whether there is a conflict” because if such a duty were imposed

“the benefits of automated payment are lost.” Id. Accordingly, district courts frequently reject

subsection 4A-207(b)(2) claims where the plaintiff does not allege any facts supporting the

beneficiary bank’s actual knowledge of a mismatch. E.g., Skin Studio Day Spa, LLC v. Wells




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Fargo Bank, NA, 711 F. Supp. 3d 593, 598 (D.S.C. 2024). Likewise, here, the Amended

Complaint contains no non-conclusory factual allegations tending to show that Chase actually

knew Plaintiffs’ transfer was sent to an account number that did not match with the listed

beneficiary. Thus, because Plaintiffs fail to plead a viable claim under UCC section 4A-207,

Count III is dismissed.

       II.     UCC Section 5/4A-205

       In Count IV, the Amended Complaint asserts a claim against Chase under UCC section

4A-205. In Illinois, subsection (a) of that provision of the UCC states, in relevant part:

       If an accepted payment order was transmitted pursuant to a security procedure for
       the detection of error and the payment order . . . erroneously instructed payment to
       a beneficiary not intended by the sender . . . then the following rules apply:

       (1) If the sender proves that the sender . . . complied with the security procedure
       and that the error would have been detected if the receiving bank had also complied,
       the sender is not obliged to pay the order to the extent stated in paragraphs (2) and
       (3).

       (2) If the funds transfer is completed on the basis of an erroneous payment
       order . . . the sender is not obliged to pay the order and the receiving bank is entitled
       to recover from the beneficiary any amount paid to the beneficiary to the extent
       allowed by the law governing mistake and restitution.

810 ILCS 5/4A-205(a). For purposes of subsection 4A-205(a), the term “security procedure”

refers to a procedure “established by agreement of a customer and a receiving bank for the

purpose of (i) verifying that a payment order or communication amending or cancelling a

payment order is that of the customer, or (ii) detecting error in the transmission or the content of

the payment order or communication.” 810 ILCS 5/4A-201. Further, the commentary to the UCC

emphasizes that “the definition of security procedure limits the term to a procedure ‘established

by agreement of a customer and a receiving bank.’ The term does not apply to procedures that

the receiving bank may follow unilaterally in processing payment orders.” Skyline Int’l Dev. v.

Citibank, F.S.B., 706 N.E.2d 942, 945 (Ill. App. Ct. 1998) (quoting 810 ILCS 5/4A-201 cmt.).


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       Plaintiffs’ claim based on subsection 4A-205(a) fails because the Amended Complaint

does not allege that Plaintiffs and Chase agreed on any security procedure in connection with the

wire transfer. Rather, the Amended Complaint simply alleges that Chase “maintained a security

procedure for the detection of error in the processing of wire transfers as receiving bank.” (Am.

Compl. ¶ 52.) But again, Chase’s potential violation of its “internal procedure was not a violation

of a security procedure” for purposes of subsection 5/4A-205(a). Skyline Int’l, 706 N.E.2d at

945. Count IV is therefore dismissed.

                                        CONCLUSION

       For the foregoing reasons, Chase’s motion to dismiss (Dkt. No. 16) is granted. Counts III

and IV of the Amended Complaint are dismissed.



                                                     ENTERED:



Dated: January 29, 2025                              __________________________
                                                     Andrea R. Wood
                                                     United States District Judge




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